
The petition for belated appeal is granted in circuit court case number 2014-CF-4633-XX. This order shall serve as a timely notice of appeal from the judgment and sentence, the latter imposed August 5, 2016. Within twenty days the trial court shall consider appellant's eligibility for appointment of appellate counsel, provided appellant files within ten days a motion in the circuit court requesting same accompanied by a financial affidavit, and shall enter an order thereupon, with a copy to appellant and a copy to this court.
The circuit court clerk shall treat this order as a notice of appeal, promptly certify same and return it to this court as with any notice of appeal, accompanied by any order of indigency that may have been entered by the circuit court, and a new appellate case number will be assigned to this appeal and an acknowledgment letter will issue at that time.
SILBERMAN, MORRIS, and LUCAS, JJ., Concur.
